      Case 2:10-cr-00186-MHT-WC Document 1906 Filed 10/13/11 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )
       v.                             )     CRIMINAL ACTION NO.
                                      )       2:10cr186-MHT
MILTON E. McGREGOR,                   )           (WO)
THOMAS E. COKER,                      )
LARRY P. MEANS,                       )
JAMES E. PREUITT,                     )
HARRI ANNE H. SMITH,                  )
JARRELL W. WALKER, JR.,               )
and JOSEPH R. CROSBY                  )

                                   ORDER

       Based on the representations made at an on-the-record

conference call on October 12, 2011, it is ORDERED that

the     government’s       motion     for     clarification       of       the

scheduling order (Doc. No. 1903) is granted to the extent

that the parties shall designate jailhouse transcripts as

follows:

       1.   The defendants’ designated jailhouse transcripts

       are due by November 14, 2011.

       2.    The government’s designated jailhouse transcripts

       are due by November 21, 2011.
Case 2:10-cr-00186-MHT-WC Document 1906 Filed 10/13/11 Page 2 of 2




 3.    Agreed    upon    joint    jailhouse      transcripts         are

       due by December 5, 2011.

 DONE, this the 13th day of October, 2011.

                           /s/ Myron H. Thompson
                        UNITED STATES DISTRICT JUDGE
